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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 NAVY SEAL # 1, et al.,

                            Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
       v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                            Defendants.

                DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
            RENEWED MOTION FOR A PRELIMINARY INJUNCTION

       The Supreme Court has made clear: “Judges are not given the task of running

 the Army.” Orloff v. Willoughby, 345 U.S. 83, 93 (1953). Nor are they given the task

 of running the Navy, Marine Corps, Air Force, Coast Guard, or National Guard. Yet

 by seeking to enjoin the military’s COVID-19 vaccine directive, Plaintiffs ask this

 Court to substitute its judgment for that of the Secretary of Defense and senior military

 leaders across all branches of the military as to the acceptable level of risk to military

 operations and conclude that vaccination is not necessary for military readiness.

 Plaintiffs base their request on the false premise that hundreds of military officers are

 engaging in a “sham,” by which they will grant medical exemptions but categorically

 deny all religious exemptions to vaccination. But the detailed declarations submitted

 by the Government make clear that the Military Services are conducting the

 individualized assessments required under the Religious Freedom Restoration Act
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 (“RFRA”). Those declarations also make clear that granting temporary medical

 exemptions, which may expire in as little as a few weeks, is not comparable to

 permanently granting more than 20,000 religious exemption requests. The fact that

 the military has granted few religious exemptions does not mean that officers are not

 discharging their duties in good faith; instead, it reflects that the military has a

 compelling interest in ensuring that service members are medically ready to defend

 this Nation.   Plaintiffs’ motion for a preliminary injunction with respect to the

 military’s policy should be denied, including with respect to the two officers as to

 whom the Court entered a temporary restraining order (“TRO”) on February 2, 2022

 (ECF No. 67). That TRO should be immediately vitiated for the reason set forth in

 Defendants’ opposition to that motion, see ECF No. 66, and because of the harms to

 national security of enjoining the military from relieving Plaintiffs Special Warfare

 Officer and Lieutenant Colonel from their commands now that the military has lost

 confidence that they will follow orders.

       Nor are Plaintiffs entitled to extraordinary injunctive relief on their challenge to

 the executive order requiring vaccination of the federal civilian workforce (“EO

 14043”). Each of the three anonymous civilian employees listed in the amended

 complaint has submitted a request to be excepted from the vaccination requirement

 that remains pending at this time. Thus, these civilian employees’ claims are not ripe

 and the Court lacks jurisdiction, as multiple courts across the country have concluded

 in similar circumstances. Even setting that aside, there is no basis for Plaintiffs’ First

 Amendment or RFRA claims because EO 14043 acknowledges that individuals may

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 be entitled to religious accommodations, and the anonymous plaintiffs—who have all

 sought such accommodations—proffer only threadbare allegations that are insufficient

 to establish a likelihood of success on the merits.       Plaintiffs’ claim under the

 Administrative Procedure Act (“APA”) likewise fails because it does not challenge

 any discrete, final agency action and because EO 14043 is within the President’s broad

 constitutional and statutory authority to manage Executive Branch employees.

 Finally, the federal civilian employees face no prospect of irreparable harm for their

 employment-related injuries (which can be remedied at the conclusion of any

 successful challenge), and the public interest is best served by allowing the federal

 government to decide how best to protect the federal workforce from a deadly virus

 that has caused serious disruptions to government operations.

       Plaintiffs are also unlikely to succeed in their challenge to EO 14042, which

 announced vaccine requirements for government contractors. This Court was clear in

 its November 11, 2021 Order that Plaintiffs’ allegations regarding EO 14042 were not

 sufficient to show that any plaintiff had standing to challenge the order. ECF No. 40,

 at 4, id. n.1, id. n.2. Plaintiffs then filed an Amended Complaint but failed to remedy

 this basic pleading deficiency. And even if Plaintiffs could show standing to challenge

 EO 14042, their claims are unlikely to succeed on the merits.

                         PROCEDURAL BACKGROUND

       Defendants have previously set forth the background for the Department of

 Defense vaccination directive and the Executive Orders requiring vaccination for

 federal employees and contractors in their opposition to Plaintiffs’ motion for a
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 preliminary injunction and incorporate that background by reference. See ECF No.

 23. Defendants also incorporate by reference and respectfully refer the Court to the

 legal standards and arguments in that opposition brief, as well as the declarations and

 exhibits filed in support of that opposition brief and in opposition to Plaintiffs’ motion

 for class certification. See ECF Nos. 23, 23-1–23-25, 42, 42-1–42-5. Defendants also

 expressly incorporate herein in Defendants’ Opposition to Plaintiffs’ Emergency

 Motion for a Temporary Restraining Order with respect to two of the Plaintiffs, ECF

 No. 66, as well as the declarations and exhibits filed in support of that opposition,

 ECF Nos. 66-1–66-7. The Court should now consider and deny Plaintiffs’ motion for

 a preliminary injunction with respect to those two officers, as well as their broader

 request as to all the other Plaintiffs, for the reasons set forth in prior submissions.

        Defendants have limited this brief to responding to Plaintiffs’ Supplemental

 Memorandum and Renewed Motion for Preliminary Injunction (“Pls.’ Supp. Br.”),

 ECF No. 51, and to addressing the Court’s Order granting in part Plaintiffs’

 Emergency Motion for a Temporary Restraining Order, ECF No. 67.

                                      ARGUMENT

 I.     The Service Member Plaintiffs Are Unlikely to Succeed on the Merits of
        Their Claims.

        A. The Religious Exemption Process Is Not a “Ruse.”

        Plaintiffs claim that hundreds of military officials are acting in concert to issue

 indiscriminate and undifferentiated denials of each service member’s request for a

 religious exemption to the COVID-19 vaccination requirement. See Pls.’ Supp. Br. 2–


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 5, 7–13. Plaintiffs’ claim is entirely unfounded and should be rejected.

        The record reflects that the Military Services are making the required

 individualized assessment under RFRA for each service member who has requested

 an exemption from the COVID-19 vaccination requirement on religious grounds.

 Each of the Military Services has submitted detailed declarations concerning the

 process each Service undertakes to review and adjudicate religious exemption

 requests.1   As reflected in these declarations, to evaluate each service member

 Plaintiff’s religious accommodation request, military officials from their branch of

 Service engage in a careful, thorough, and case-by-case analysis of each request,

 evaluating whether a service member’s objection to compliance is based upon a sincere

 religious belief, evaluating whether requiring compliance would substantially burden

 the member’s religious exercise, identifying the government’s compelling interest, and

 determining whether there are any lesser restrictive means of furthering that interest.

 And, after the approval authority conducts this rigorous analysis of each request, the

 appeal authority for each Service conducts their own separate analysis on each appeal.

 In sum, “[t]here is no blanket policy or practice of approving or disapproving all

 religious accommodation requests, including with respect to the COVID-19 vaccine.”



 1
  See Decl. of Colonel Michele Soltis (Army), ECF No. 23-17; Decl. of Major General Telita Crosland
 (Army), ECF No. 42-6; Decl. of Vice Admiral William Merz (Navy), ECF No. 23-18; Decl. of Captain
 Mery-Angela Sanabria Katson (Navy), ECF No. 42-4; Decl. of Lieutenant General David Furness
 (Marine Corps), ECF No. 23-19; Decl. of Colonel Adam Jeppe (Marine Corps), ECF No. 42-3; Decl.
 of Major Matthew Streett (Air Force), ECF No. 23-21; Decl. of Major General Sharon Bannister (Air
 Force), ECF No. 42-1; Decl. of Rear Admiral Shannon Gilreath (Coast Guard), ECF No. 23-25; Decl.
 of Commander Brooke Grant (Coast Guard), ECF No. 42-2; Decl. of Deputy Director Laurence
 Bazar (Army National Guard), ECF No. 42-5.

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 Crosland Decl. ¶ 4, ECF No. 42-6; Bannister Decl. ¶ 4, ECF No. 42-1.

       Plaintiffs’ supplemental brief makes no attempt to argue the individual merits

 of any Plaintiff service member’s religious accommodation request but instead argues

 that “the vaccine mandate does not allow for individualized assessments” of their

 religious exemption requests writ large. Pls.’ Supp. Br. 11. The military’s adjudication

 of Plaintiffs’ own religious accommodations would almost certainly disprove that

 allegation by reflecting individualized analyses of their requests, but because Plaintiffs

 still have not provided most of their names to Defendants, Defendants are unable to

 investigate their allegations. For the two Plaintiffs who sought a temporary restraining

 order (and thus the two names Plaintiffs divulged to Defendants), the record indeed

 shows that the military appeal authority conducted an individualized assessment of

 both Plaintiffs’ religious accommodation request packages, taking into account, for

 example, each Plaintiff’s military duties and considering whether there were any less

 restrictive means than vaccination that would further the military’s compelling interest

 in readiness. See ECF Nos. 66-2, 66-3.

       In any event, the allegations in Plaintiffs’ amended complaint disprove their

 arguments that adjudication is undifferentiated. Plaintiffs hold different positions and

 are in different phases of the religious exemption process with different decision-

 makers across different Services. See generally Am. Compl. ¶¶ 32–65, 137–69, ECF No.

 49-1. They received individualized assessments from military chaplains. See id. Some

 commanders recommended in favor of some requests, and some commanders did not.



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 Compare id. ¶ 33, with id. ¶ 38.2 The approval authorities and the appeal authorities

 across the Services conduct individualized assessments of all requests. All Plaintiffs

 have been able to submit religious accommodation requests pursuant to policy, and

 none has been subject to discipline or separation for refusing the vaccine in the interim.

 There is no indication that any particular decision-maker is applying the wrong

 standard, or that the decision-makers are acting in a vast scheme to apply the wrong

 standard. Plaintiffs simply do not like the results received thus far, but that is not a

 basis for finding that the process is a “sham.”

         Plaintiffs’ assertion that military has a policy of an “across-the-board denial” of

 religious exemption requests is simply incorrect. Pls.’ Supp. Br. 3; see also TRO 8.

 Either Plaintiffs misunderstand the applicable policies and how they relate to each

 other or have incorrectly implied that some of the most senior military officers and

 civilian officials across all the Military Services are all proceeding in bad faith. The

 authorities who must approve vaccination exemption requests for both the Navy and

 Marine Corps are flag officers, and the appeal authorities are the Chief of Naval

 Operations and the Commandant of the Marine Corps, respectively, who are the most

 senior officers of the Services. Merz Decl. ¶ 14, ECF No. 23-18; Furness Decl. ¶ 12,

 ECF No. 23-19. The final appeal authority for the Coast Guard is the Director of

 Military Personnel, who holds the senior rank of Captain. Grant Decl. ¶ 7, ECF No.


 2
   One Plaintiff indicates that, as commanding officer, he recommended in favor of 16 of 17 requests
 on his ship. Am. Compl. ¶ 38. Although all were eventually denied, the Plaintiff’s own assessment
 that at least one request failed to meet the standard disproves the concept that the Court can adjudicate
 these requests as a whole, without individualized assessment required by RFRA.

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 42-2. The “vast majority” of the approval authorities for the Air Force are “three- and

 four-star General Officers,” and the appeal authority is the Air Force Surgeon General,

 who, as a Lieutenant General, is a three-star general officer. Bannister Decl. ¶¶ 3, 17,

 ECF No. 42-1. For the Army and the Army National Guard, the approval authority

 is the Army Surgeon General, who is also a Lieutenant General and thus a three-star

 general officer, and the appeal authority is the Assistant Secretary of the Army for

 Manpower and Reserve Affairs, who is one of the five Assistant Secretaries of the

 Army and is appointed by the President with the advice and consent of the Senate.

 Crossland Decl. ¶ 4, ECF No. 42-6; Bazer Decl. ¶ 9, ECF No. 42-5; see 10 U.S.C. §

 7016(a). Defendants’ declarations reflect that these senior officials, as well as myriad

 other military officials who assist in processing religious accommodations requests like

 chaplains, military health providers, and attorneys, are conducting thorough,

 individualized assessments of each request. There is no possible basis to find that they

 are acting in bad faith. See Dodson v. Dep’t of Army, 988 F.2d 1199, 1204 (Fed. Cir.

 1993) (“[M]ilitary administrators are presumed to act lawfully and in good faith like

 other public officers, and the military is entitled to substantial deference in the

 governance of its affairs.”); Patel v. McHugh, 2014 WL 953493, at *2 (S.D. Ga. Mar.

 11, 2014) (same), aff’d, 586 F. App’x 583 (11th Cir. 2014); Perry v. Dep’t of Army, No.

 2013 WL 4432175, at *4 (M.D. Ga. Aug. 15, 2013) (same); Hicks v. Sec’y of Air Force,

 2009 WL 2151200, at *8 (M.D. Fla. July 14, 2009) (same). Indeed, both the D.C.

 Circuit and Ninth Circuit dismissed similar theories of bad faith when vacating (D.C.

 Circuit) and staying (Ninth Circuit) preliminary injunctions preventing the military
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 from implementing its then-existing policy regarding military service by transgender

 individuals and individuals with gender dysphoria. Doe 2 v. Shanahan, 755 F. App’x

 19, 25 (D.C. Cir. 2019); Karnoski v. Trump, 926 F.3d 1180, 1202-03 (9th Cir. 2019); see

 also Doe 2 v. Shanahan, 917 F.3d 694, 731 (D.C. Cir. 2019) (Williams, J., concurring)

 (“the plausibility of such a scheme tends to unravel as we try to imagine the dozens of

 participants,” including “Cabinet members and other officials,” “who would have

 been needed for its realization” (quotation marks omitted)). Plaintiffs’ contentions

 should also be rejected here.

        Plaintiffs refer to the data submitted by Defendants showing that only three

 religious accommodation requests have been granted at this point and on that basis

 argue that the military has a policy of an “across-the-board denial” of such requests.

 Pls.’ Supp. Br. 3; see also TRO 8. But the data support no such conclusion. Only a

 small percentage of the accommodation requests have been fully adjudicated on appeal

 across the Services. See, e.g., Katson Decl. Ex. 1, ECF No. 73-3 (showing that only 81

 requests have been fully adjudicated, while 1,222 appeals remain pending in the

 Navy). Accordingly, drawing any conclusions from the available data—and certainly

 any conclusion that accommodation requests are not being considered in good faith—

 is unwarranted.

        In any event, the denial of many religious exemption requests for the COVID-

 19 vaccination requirement does not show that the process is a “ruse” or a “sham,” as

 Plaintiffs allege, Pls.’ Supp. Br. 2, 24; rather, it is entirely consistent with a finding that

 the military has assessed its interests in vaccination of service members as extremely
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  compelling and not readily satisfied by less restrictive alternatives. The Court stated

  that “[o]ne struggles to imagine a wholesome and lawful explanation for the results

  evidenced in this record.” TRO 8. To the contrary, when one considers the unique

  nature of military service, the explanation should be readily apparent. The purpose of

  the military is to fight and win our nation’s wars and to protect the American public

  from foreign threats, and the military must have medically ready, “globally deployable

  forces” to do so. See Decl. of Admiral William Lescher ¶ 5 & Attach., ECF No. 66-

  4; Ex. 1 (DoDI 1332.45) at 4 (“To maximize the lethality and readiness of the joint

  force” it is DoD policy that “all Service members are expected to be deployable.”). 3

  The military has an indisputably compelling interest in ensuring that service members

  are healthy and ready to deploy at a moment’s notice and that interest is vital to the

  national security of the United States. Lescher Decl. ¶ 11.

         Vaccination requirements for the military are nothing new. To the contrary, the

  military’s compelling interest in a fully vaccinated force is supported by generations of

  historical experience. See Congressional Research Report Defense Health Primer:

  Military Vaccinations, ECF No. 23-13; Stanley Lemon, et al., Protecting Our Forces:

  Improving Vaccine Acquisition and Availability in the US Military, National Academies

  Press, 2002, available at https://perma.cc/E545-TQ9G at 10, Table 1-1. For decades,

  the military has implemented a variety of enduring or situational inoculation measures



  3
    This declaration was originally prepared in conjunction with other litigation and speaks directly to
  the military’s interest in vaccination. It also speaks to the Navy’s interest in having members of its
  special operations forces, such as Plaintiff Navy SEAL 1, vaccinated for COVID-19.

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  to maintain the readiness of the force. See ECF No. 23-13. Nine vaccines are required

  for all service members—now ten with the addition of the COVID-19 vaccine—while

  eight others are required in specialized circumstances, such as deployments to certain

  parts of the world. See Army Regulation (“AR”) 40-562, Table D-1, ECF No. 23-6.

  Accordingly, “[t]he judgment of each of the Military Services is that vaccines,”

  including the COVID-19 vaccine, “are the most effective tool the Armed Forces have

  to keep our personnel safe, fully mission capable and prepared to execute the

  Commander-in-Chief’s orders to protect vital United States[] national interests.” See

  Lescher Decl. ¶ 11, ECF No. 66-4; Mem. for all Defense Employees (Aug. 9, 2021),

  ECF No. 23-2; Ex. 3 (Decl. of Colonel Tanya Rans) ¶ 10; Ex. 4 (Decl. of Major Scott

  Stanley) ¶ 20; Decl. of Colonel James Poel ¶ 4, ECF No. 66-7.4

         As the Vice Chief of Naval Operations explains, “[u]nvaccinated or partially

  vaccinated service members are at higher risk to contract COVID-19, and to develop

  severe symptoms requiring hospitalizations that remove them from their units and

  impact mission execution.” Lescher Decl. ¶ 2, ECF No. 66-4; see also Ex. ¶ 18

  (“Between July and November of 2021, non-fully-vaccinated active-duty service

  members had a 14.6-fold increased risk of being hospitalized when compared to fully

  vaccinated active-duty service members. In December 2021 unvaccinated adults were

  16-times more likely to be hospitalized than vaccinated adults.”); Ex. 3 ¶¶ 14–40

  (explaining continued benefits of vaccination). This can lead to medical evacuations


  4
    This declaration was originally prepared in conjunction with other litigation and speaks directly to
  the Air Force’s interest in vaccination.

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  that “create additional risk . . . to the mission” and “place those service members

  executing medical evacuation at risk of harm,” including by providing “transport from

  a hostile, remote or diplomatically sensitive area.” Lescher Decl. ¶ 21; Ex. 11 (Decl.

  of Captain Frank Brandon) ¶ 12. For a force that requires every service member to be

  deployable, this means even vaccination against tetanus—which is not transferable

  from human to human—is required. See Ex. 1 at 4; AR 40-562, Table D-1, ECF No.

  23-6. Moreover, because of the extremely transferable nature of COVID-19, the

  heightened risk that an unvaccinated service member will contract COVID-19

  necessarily heightens the risk that others in his unit will contract COVID-19. Lescher

  Decl. ¶ 17 (“[U]nvaccinated personnel in a unit degrade the force health protection

  conditions in the unit, placing personnel in the unit at risk and degrading the unit’s

  ability to safely conduct operations, regardless of the scope of the operation.”).

        Plaintiffs (and the Court) may disagree with these assessments, but

  disagreement with the military’s compelling interests in vaccine requirements does not

  mean that military leaders are operating in bad faith. And the law governing the

  Court’s review of military decisions is clear: the Supreme Court has long directed

  district courts to give deference to the professional judgment of military authorities

  concerning the relative importance of a particular military interest. See Rostker v.

  Goldberg, 453 U.S. 57, 71, 81–83 (1981); Trump v. Hawaii, 138 S. Ct. 2392, 2421–22

  (2018); Winter v. NRDC, Inc., 555 U.S. 7, 9 (2008); cf. Doe 2, 917 F.3d at 728 (Williams,

  J., concurring) (assessing plaintiffs’ empirical attacks on the military’s justifications

  with deference for military judgment). This is true even for claims under the First
                                             12
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  Amendment and RFRA. See Goldman v. Weinberger, 475 U.S. 503, 507 (1986); S. Rep.

  103-111, 12, reprinted in 1993 U.S.C.C.A.N. 1892, 1901 (expressing the committee’s

  “inten[tion] and expect[ation]” that courts will apply deference principles under

  RFRA). The most senior military leaders have determined vaccination is essential for

  military readiness. The Court should defer to that assessment, and should not make

  determinations based its own intuition or reading of limited data to discount the

  military’s compelling interest in protecting the health and safety of the force.

        B. Aggregate Medical Exemption Data Do Not                       Undermine   the
           Government’s Compelling Interest in Vaccination.

        Plaintiffs rely entirely on aggregate data pertaining to religious exemptions and

  temporary medical exemptions to the COVID-19 vaccine requirement to argue that

  the military is engaging in a sham process by granting exemptions for medical reasons,

  but not for religious reasons. But the number of medical exemptions from vaccination

  requirements does not determine whether any individual service member is entitled to

  a permanent religious exemption.       And those data in no way lend credence to

  Plaintiffs’ theory that the religious exemption process is a “ruse.”

        As an initial matter, unlike religious exemptions, medical exemptions serve the

  government’s interest in military readiness. Giving a vaccine to a service member who

  is, for example, allergic to a component of the vaccine, would harm the member’s

  health, and thus would be contrary to the military’s interest in ensuring readiness and

  the health and safety of service members. Ex. 6 (Decl. of Major General Telita

  Crosland) ¶ 10; Ex. 7 (Decl. of Rear Admiral Gayle Shaffer) ¶ 11; Ex. 5 (Decl. of


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  Artemio Chapa) ¶ 13; Ex. 8 (Decl. of Rear Admiral Dana Thomas) ¶ 5; see also Doe v.

  Mills, 16 F.4th 20, 34 (1st Cir. 2021) (providing medical exemptions for

  contraindicated vaccines supports the State’s goal of keeping healthcare works healthy

  and able to provide care); Doe v. San Diego Unified Sch. Dist., 19 F.4th 1173, 1178 (9th

  Cir. 2021) (having a medical exemption to those with contraindications to the vaccines

  “serves the primary interest for imposing the mandate—protecting student ‘health and

  safety’”). The inability of some members to receive the vaccine for a period of time

  due to contraindications or health issues increases the military’s compelling interest in

  maximizing the vaccination of other service members to prevent the spread of the

  disease. Ex. 5 ¶ 15. Therefore, the fact that the Services have granted medical

  exemptions where the health of the member would have been compromised by

  vaccination does not diminish the military’s assessment that vaccination is necessary

  to achieve its interest in military readiness.

           In addition, the vast majority of medical exemptions are temporary in nature.

  All temporary medical exemptions last only up to 365 days, AR 40-562 ¶ 2.6, ECF

  No. 23-6, and many last as little as a few days or weeks depending on a change in the

  medical condition, see Ex. 5 ¶ 12; Ex. 8 ¶ 6. Once the exemption expires, the member

  must get vaccinated. Indeed, in the four weeks between Defendants’ first and third

  data submissions, many temporary medical exemptions have already expired, and the

  service members will now be required to receive the COVID-19 vaccination. 5 Thus,


  5
      Compare Mahoney Decl. ¶ 15, ECF No. 47-2, with Mahoney Decl. ¶ 11, ECF No. 73-2 (number of


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  the impact on the military mission and deployablity of a service member with a

  temporary medical exemption is decidedly different than a service member receiving

  a permanent religious exemption to the COVID-19 vaccination requirement.

          Common reasons to grant temporary medical exemptions are pregnancy or

  acute infection (e.g., a current infection of COVID-19). See AR 40-562 ¶ 2.6, ECF No.

  23-6.   Indeed, the Navy’s data shows that over 75% of the temporary medical

  exemptions for active-duty marines and nearly 70% of the temporary medical

  exemptions for active-duty sailors are related to pregnancy or current infection. Ex. 7

  ¶ 6. Both of these conditions are time-limited, and once the condition is resolved, the

  member’s temporary medical exemption expires and the member is expected to get

  vaccinated. Id. ¶ 7; Ex. 6 ¶¶ 8–9. Other reasons for a temporary medical exemption

  include, for example, cancer treatments, Ex. 6 ¶ 7, and members undergoing

  assessments for medical contraindications for vaccination, Ex. 7 ¶ 6. But, again, these

  exemptions are all temporary in nature and members are expected to get vaccinated

  once their condition resolves. There would be no such expectation for a religious

  exemption, which again is presumably permanent.

          Moreover, many of the common reasons that a service member may receive a

  medical exemption from an immunization requirement may also make the service



  temporary medical exemptions in the Army dropped from 1,354 to 1,105); compare Kaston Decl. Ex.
  1, ECF No. 47-3, with Katson Decl. Ex. 1, ECF No. 73-3 (number of temporary medical exemptions
  in the Navy dropped from 303 to 252); compare Reid Decl. Ex. 1, ECF No. 47-4, with Reid Decl. Ex.
  1, ECF No. 73-4 (number of temporary medical exemptions in the Marine Corps dropped from 419
  to 232); compare Holbrook Decl. Ex. 1, ECF No. 47-5, with Holbrook Decl. ECF No. 73-5 (number of
  temporary medical exemptions in the Air Force dropped from 1,723 to 1,513).

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  member nondeployable, such that the member is already not medically ready to

  deploy, regardless of vaccination status. Ex. 9 (Decl. of Captain Joon Yun) ¶ 8. A

  pregnant service member is generally not worldwide deployable or deployable on ships

  or aircraft during pregnancy—and that is true whether or not that service member is

  vaccinated. Ex. 1 at 11. However, the member is expected to return to a worldwide

  deployable status following pregnancy, including getting vaccinated to be fully

  medically ready for deployment.6 In contrast, a member with a religious exemption

  would not be expected to get the vaccine, as the member’s religious convictions are

  presumably permanent.

         Previous adverse response to immunization may be grounds for a permanent

  medical exemption, see AR 40-562 ¶ 2.6, ECF No. 23-6, but such exemptions have

  rarely been necessary for the COVID-19 vaccine. For example, the Army has granted

  only six permanent medical exemptions for the COVID-19 vaccine, and all were a

  result of an adverse reaction to the first shot. Ex. 6 ¶ 10. For this same reason, the

  Navy has granted ten permanent medical exemptions,7 Ex. 7 ¶ 10, and the Coast

  Guard has granted five, Ex. 8 ¶ 5.8 These service members “have at least some



  6
    Because “all Service members are expected to be deployable,” a service member who is non-
  deployable for more than 12 consecutive months is evaluated for continued retention or possible
  referral to the Disability Evaluation System for a possible medical separation. Ex. 1 at 4.
  7
    The Navy granted an additional permanent medical exemption because the service member “had
  medical conditions that precluded vaccination due to family history of vaccine reaction and severe
  cardiac disease, with a recommendation for medical board separation processing due to these
  underlying conditions.” Ex. 7 ¶ 10.
  8
    The Air Force is giving only temporary medical exemptions to ensure that members with temporary
  medical conditions get vaccinated once their condition is resolved and to allow the Air Force to
  reassess members with contraindications for the vaccine to determine whether a vaccine has been
  approved with constituents the member can safely take. Ex. 5 ¶ 11.

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  modicum of protection from having received the initial dose, which will increase the

  effectiveness of mitigation measures.” Ex. 6 ¶ 10. More importantly, there is a

  decidedly different impact on the military force between granting 21,243 religious

  exemptions, see Pls.’ Supp. Br. 3, from the COVID-19 vaccine and permanently

  excusing 21 individuals from a second COVID-19 vaccine dose when there is evidence

  that it may actually cause them physical harm.

          Finally, Plaintiffs’ argument that the military is “treating religious exemption

  requests less favorably than nonreligious exemption requests,” Pls.’ Supp. Br. 9; see

  also TRO 8, is wrong. Because they are unvaccinated, service members with a medical

  exemption are still subject to myriad limitations and restrictions, such as restrictions

  on deployment eligibility, foreign country entry restrictions, frequent COVID-19

  testing or extended quarantine requirements, and travel restrictions. Ex. 9 ¶ 6; Ex. 11

  ¶ 12. In addition, members who are unvaccinated for any reason may have to seek a

  separate medical clearance to perform certain duties or a waiver from a Combatant

  Commander to deploy within that commander’s geographic area of responsibility. Ex.

  9 ¶ 7. Accordingly, it is simply not the case that members who are medically exempt

  are permitted to serve without any consequences. 9


  9
   Plaintiffs further rely on the district court’s misinterpretation of Navy instructions in Navy Seals 1–26,
  2022 WL 34443 (N.D. Tex. Jan. 3, 2022), appeal filed, No. 22-10077 (5th Cir. 2022). There the court
  found that Navy treats vaccine medical exemptions and vaccine religious exemptions for members of
  the Navy Special Warfare community differently for deployability purposes. Id. at *9. But, as
  explained by the Force Medical Officer for Navy Special Warfare Command, the Navy requires any
  special operations service member who is not vaccinated, either by reason of a medical exemption or
  based on a religious request, to obtain a separate waiver in order to become deployable and continue
  in that career field. See Ex. 2 (Decl. of Captain Lanny Littlejohn) ¶ 6. “[A] service member who


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          C. Plaintiffs Have Failed to Exhaust Administrative Remedies.

          Plaintiffs also are unlikely to succeed on the merits of their claims, and therefore

  are not entitled to any preliminary injunctive relief, because they have failed to exhaust

  administrative remedies. The Eleventh Circuit has made clear “time and again” that

  exhaustion of administrative remedies is “require[d]” in military cases. Winck v.

  England, 327 F.3d 1296, 1302 (11th Cir. 2003), abrogated on other grounds by Santiago-

  Lugo v. Warden, 785 F.3d 467, 471 (11th Cir. 2015) (collecting cases).

          Plaintiffs rely exclusively on an out-of-circuit district court opinion for the

  proposition that the Court can ignore military exhaustion requirements because

  exhaustion would be futile. See Pls.’ Supp. Br. 6. That decision is plainly wrong under

  precedent that binds this Court as well. But that district court also contravened its own

  Circuit’s precedent. In Hodges v. Callaway, for example, the Fifth Circuit concluded

  that although the plaintiff seemed unlikely to prevail in challenging his discharge, he

  was required nonetheless to exhaust his military remedies, including challenging his

  discharge, and ordered dismissal of the action because “courts must—at least

  initially—indulge the optimistic presumption that the military will afford its members

  the protections vouchsafed by the Constitution, by the statutes, and by its own

  regulations.” 499 F.2d 417, 424 (5th Cir. 1974). To do otherwise “might upset the



  receives an exemption or accommodation from the COVID-19 vaccination requirement, whether for
  religious or secular reasons, is not [physically qualified for special operations] unless he or she obtains
  separate medical clearance.” Id. A medical exemption for the COVID-19 vaccination, like a religious
  exemption, only determines whether the service member will be required to receive the COVID-19
  vaccination. In either circumstance, a service member will not be considered physically qualified for
  special operations duty and deployable until he or she receives separate medical clearance. Id.

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  balance between the civilian judiciary and the military” and involve “untoward,

  unreasonable interference with the efficient operation of the military’s judicial and

  administrative systems and allow the military an opportunity to exercise its own

  expertise and rectify its own errors before a court is called to render judgment.” Id. at

  423. Neither the exemption process nor the separation process reasonably can be

  deemed an “empty formality”; all levels of military command are engaged in reasoned

  decision-making to find facts and make determinations about military needs. The

  Court should not foreclose that process, which could afford relief or partial relief to

  Plaintiffs and which allows the military to exercise its judgment and develop a record

  in the first instance. See Church v. Biden, 2021 WL 5179215, at *10 (D.D.C. Nov. 8,

  2021); Robert v. Austin, No. 21-CV-02228-RM-STV, 2022 WL 103374, at *3 (D. Colo.

  Jan. 11, 2022).

        Plaintiffs’ demands for extraordinary preliminary relief with respect to the

  military’s COVID-19 vaccination requirements are nothing more than an effort to

  short circuit both the administrative and normal judicial process. Their demand fails

  to satisfy any of the requirements for an injunction at this stage.

  II.   The Civilian Employee Plaintiffs Are Unlikely to Succeed on the Merits of
        Their Claims.
        A. This Court Lacks Jurisdiction Over Plaintiffs’ Challenge to EO 14043.
            1. Plaintiffs’ Challenge to EO 14043 is Not Ripe.

        Because the civilian employee Plaintiffs present unripe claims, the Court lacks




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  jurisdiction to award any relief against EO 14043.10 See, e.g., Dermer v. Miami-Dade

  Cnty., 599 F.3d 1217, 1220 (11th Cir. 2010). Each civilian employee alleges that he

  has submitted a request for a religious exception to the vaccination requirement that is

  currently pending with his employing agency. See Am. Compl. ¶¶ 66–68. While these

  exception requests are pending, Plaintiffs are not subject to discipline. 11 And because

  the requests might be granted, Plaintiffs’ potential injuries depend “upon contingent

  future events that may not occur as anticipated, or indeed may not occur at all.” Texas

  v. United States, 523 U.S. 296, 300 (1998) (citation omitted). As multiple courts have

  concluded in rejecting similar challenges to EO 14043 on ripeness grounds, potential

  injuries based on “hypothetical predictions of the outcomes of . . . exemption requests”

  are “insufficient to ‘render an issue ripe for review.’” Church, 2021 WL 5179215, at

  *9; accord Brnovich v. Biden, ---F. Supp. 3d----, 2022 WL 252396, at *8 (D. Ariz. Jan. 27,

  2022); McCray v. Biden, 2021 WL 5823801, at *8–9 (D.D.C. Dec. 7, 2021); AFGE Local

  501 v. Biden, No. 21-23828-CIV, ECF No. 33, at 17 (S.D. Fla. Dec. 22, 2021); Donovan

  v. Vance, No. ---F. Supp. 3d----, 2021 WL 5979250, at *4–5 (E.D. Wash. Dec. 17, 2021).

          This is especially true with respect to the civilian employee Plaintiffs’ RFRA


  10
     On January 21, 2022, a district court entered a nationwide preliminary injunction prohibiting the
  government from “implementing or enforcing Executive Order 14043 until this case is resolved on the
  merits.” Feds for Med. Freedom v. Biden, ---F. Supp. 3d----, 2022 WL 188329, at *8 (S.D. Tex. Jan. 21,
  2022). The government has appealed that ruling, see No. 22-40043 (5th Cir. Jan. 21, 2022), and
  motions to stay the injunction are pending before both the district court and the Fifth Circuit.
  11
     The alleged State Department employee asserts that he has received a “Letter of Counseling
  threatening consequences of [sic] his failure to provide proof of full vaccination for COVID-19.” Am.
  Compl. ¶ 68. Because Plaintiffs have not provided this individual’s identity, Defendants cannot verify
  this allegation. But in any event, a letter of counseling is merely the first informal step in a multi-step
  disciplinary process, and no federal employee will be subject to any discipline while the Feds for Medical
  Freedom nationwide injunction remains in effect.

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  claims. Allowing their employing agencies to reach an initial decision with respect to

  the requests will make concrete the (at present abstract) dispute between the parties

  and create a record of, for example, Plaintiffs’ job duties, any difficulties associated

  with accommodating a particular religious exemption request, and the extent to which

  the vaccination requirement as applied to an individual employee is narrowly tailored

  to serve the government’s compelling interest in stopping the spread of COVID-19

  among the federal workforce. See, e.g., Toca Producers v. FERC, 411 F3d 262, 266 (D.C.

  Cir. 2005) (dispute not ripe where an agency had “yet to pass conclusively upon

  whether the [applicants] are entitled to the only relief they now seek”).

        2. The Civil Service Reform Act Precludes Plaintiffs’ Challenge to EO 14043.

        Plaintiffs’ claims are also precluded by the Civil Service Reform Act (“CSRA”),

  which “provides the exclusive procedure for challenging federal personnel decisions.”

  Hendrix v. Snow, 170 F. App’x 68, 80 (11th Cir. 2006) (citing United States v. Fausto, 484

  U.S. 439, 443, 454–55 (1988); Broughton v. Courtney, 861 F.2d 639, 643 (11th Cir.

  1988)); see 5 U.S.C. §§ 7512, 7513(d), 7703(b)(1) (“adverse actions” reviewable by

  Merit Systems Protection Board and Federal Circuit); id. §§ 1214(a)(3), 2302 (review

  scheme for less severe “personnel action[s]”). The Supreme Court has concluded that,

  “[g]iven the painstaking detail with which the CSRA sets out the method for covered

  employees to obtain review of adverse employment actions,” Congress “intended to

  deny such employees an additional avenue of review in district court.” Elgin v. Dep’t

  of the Treasury, 567 U.S. 1, 11–12 (2012). This comprehensive remedial scheme

  precludes Plaintiffs from challenging the employment condition set forth in EO 14043
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  in district court.12

          B. The Civilian Employees Plaintiffs’ First Amendment and RFRA Claims
             Are Unlikely to Succeed.

          In support of their First Amendment and RFRA challenges to EO 14043,

  Plaintiffs continue to allege that the executive order “prohibit[s] Plaintiffs from seeking

  and receiving exemption and accommodation for their sincerely held religious beliefs

  against the COVID-19 vaccines.” Am. Compl. ¶¶ 258, 282. But as the Court has

  already held in rejecting Plaintiffs’ previous attempt to preliminarily enjoin EO 14043,

  the executive order “expressly require[s] religious exemption.” Order 3, ECF No. 40.

  Plaintiffs offer nothing in either their amended complaint or renewed motion that

  would alter this conclusion—indeed, their motion simply adopts by reference

  Plaintiffs’ arguments regarding the military vaccination requirement and contains no

  argument that EO 14043 violates either the First Amendment or RFRA. See Pls.’

  Supp. Br. 15.13 Whatever showing Plaintiffs have made regarding that vaccination

  requirement (and as explained elsewhere in this brief, that showing does not establish

  a likelihood of success on Plaintiffs’ First Amendment and RFRA challenges to the

  military order), the record is completely devoid of support for Plaintiffs’ contention

  that civilian employees are “prohibited” from receiving religious exemptions from EO


  12
     The alleged employees of the Bureau of Prisons and State Department have additionally failed to
  establish that any relief obtained in this lawsuit would redress their alleged injuries because they do
  not sue any official at either agency responsible for implementing EO 14043.
  13
     Plaintiffs’ motion argues only that EO 14043 is “not generally applicable” and thus “subject to strict
  scrutiny under the First Amendment,” Pls.’ Supp. Br. 13. Even assuming arguendo the truth of that
  contention, it is irrelevant here because Plaintiffs also bring a RFRA claim. See Order 20, ECF No.
  40 (noting that RFRA provides “greater protection . . . than is available under the First Amendment”).


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  14043 or that the Plaintiffs’ pending religious exemption requests will be denied. 14 See

  Order 4 n.1, ECF No. 40 (in reviewing religious exemption requests, federal agencies

  should consider “the basis for the claim; the nature of the employee’s job

  responsibilities’ and the reasonably foreseeable effects on the agency’s operations,

  including protecting agency employees and the public from COVID-19”). Plaintiffs’

  facial challenge to EO 14043 thus fails. See Horton v. City of St. Augustine, 272 F.3d

  1318, 1329 (11th Cir. 2001) (facial challenges are “the most difficult challenge to

  mount successfully” because they require the challengers to “establish that no set of

  circumstances exists under which the [challenged government action] would be

  valid”); Donovan, 2021 WL 5979250, at *6–7 (rejecting facial challenge to EO 14043).

         To the extent Plaintiffs assert an as-applied challenge to EO 14043, as described

  above, they present fundamentally unripe claims and there is no basis for the Court to

  consider them now. See Church, 2021 WL 5179215, at *9 (“absence of any factual

  record providing the basis for any denial of a religious accommodation request (if, in

  fact any plaintiff’s request is denied) hamstrings the Court’s ability to evaluate” First

  Amendment and RFRA challenges to EO 14043). In any event, Plaintiffs proceed

  anonymously and provide only conclusory allegations about the manner in which EO

  14043 purportedly burdens their religious beliefs. But “an asserted belief must be

  ‘sincere’; a [plaintiff’s] pretextual assertion of a religious belief in order to obtain an



  14
    As noted, EO 14043 is now enjoined on a nationwide basis. While that injunction remains in effect,
  the government is prohibited from disciplining any civilian employees for noncompliance with its
  vaccination requirement or from adjudicating (and denying) any pending exemption requests.

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  exemption . . . would fail.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 717 n. 28

  (2014). Until Defendants and this Court can examine their claims, “[n]either the

  government nor the court has to accept the [plaintiffs’] mere say-so.” United States v.

  Bauer, 84 F.3d 1549, 1559 (9th Cir. 1996); see also, e.g., Fallon v. Mercy Cath. Med. Ctr. of

  Se. Pa., 877 F.3d 487, 492 (3d Cir. 2017); Friedman v. Clarkstown Cent. Sch. Dist., 75 F.

  App’x 815, 819 (2d Cir. 2003). For this reason too, Plaintiffs’ RFRA and First

  Amendment challenges are unlikely to succeed.

         C. The Civilian Employee Plaintiffs’ APA Claim Is Unlikely to Succeed.

         Plaintiffs also press a claim, purportedly under the APA, that the “Executive

  Branch” lacks the “power to impose a vaccine mandate on all civilian federal

  employees.” Pls.’ Supp. Br. 16. As a threshold matter, the Court lacks jurisdiction

  over this claim because Plaintiffs fail to identify any “final agency action for which

  there is no other adequate remedy in a court.”           5 U.S.C. § 704; see Nat’l Parks

  Conservation Ass’n v. Norton, 324 F.3d 1229, 1236 (11th Cir. 2003). Indeed, they point

  to no action by any agency to implement EO 14043 or apply its requirements to any

  federal employee (and indeed, do not even sue the agencies that employ the alleged

  Bureau of Prisons and State Department plaintiffs). Final agency action (1) “must

  mark the consummation of the agency’s decisionmaking process,” and (2) must

  determine legal “rights or obligations” or have other “legal consequences.” Bennett v.

  Spear, 520 U.S. 154, 177–78 (1997) (citations omitted). However, an agency has not

  consummated its decisionmaking process where it is clear that “further administrative



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  action is forthcoming.” Nat’l Parks Conservation Ass’n, 324 F.3d at 1238. Here, the

  relevant “final agency action” applying EO 14043 to any particular civilian employee

  is the relevant employing agency’s ultimate decision—which has not occurred for any

  of the civilian employee plaintiffs here—regarding whether an individual employee

  “receives an exemption, whether and what additional remedial measures and

  procedures should be taken, and whether and how [that employee] should be

  disciplined.” Rodden v. Fauci, ---F. Supp. 3d----, 2021 WL 5545234, at *3 (S.D. Tex.

  Nov. 27, 2021).

        In any event, EO 14043 is a valid exercise of the President’s authority pursuant

  to Article II of the Constitution and multiple federal statutes (5 U.S.C. §§ 3301, 3302,

  and 7301). See Rydie v. Biden, No. 21-cv-2696, 2021 WL 5416545, at *3 (D. Md. Nov.

  19, 2021), appeal filed, No. 21-2359 (4th Cir. Dec. 7, 2021); Oklahoma v. Biden, 2021

  WL 6126230, at *10 (W.D. Okla. Dec. 28, 2021); Brnovich, 2022 WL 252396, at *12);

  see also Brass v. Biden, No. 21-cv-2778, 2021 WL 6498143, at *3 (D. Colo. Dec. 23,

  2021) (report and recommendation), adopted 2022 WL 136903 (D. Colo. Jan. 14,

  2022); Smith v. Biden, No. 21-cv-19457, 2021 WL 5195688, at *6 (D.N.J. Nov. 8,

  2021), appeal filed, No. 21-3091 (3d Cir. Nov. 10, 2021). Plaintiffs ignore these

  persuasive authorities and rely instead on the lone district court decision to find that

  EO 14043 likely exceeds the President’s authority. See Pls.’ Supp. Br. 16–17 (citing

  Feds for Med. Freedom). That case was wrongly decided; just as private employers across

  the country have required their employees to be vaccinated against COVID-19, so too



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  can the President, as proprietor of the Executive Branch workforce, make COVID-19

  vaccination a condition of federal employment.

        The President has inherent constitutional authority under Article II to act as

  chief executive officer of the Executive Branch. See, e.g., Seila Law LLC v. CFPB, 140

  S. Ct. 2183, 2191 (2020). This includes “general administrative control over those

  executing the laws.” Id. at 2197–98 (citation omitted). The Supreme Court has “[t]ime

  and again” emphasized the government’s “wide latitude” in managing federal

  employees. NASA v. Nelson, 562 U.S. 134, 148, 154 (2011) (quotation marks omitted).

  Accordingly, the President may “prescribe the qualifications of [Executive Branch]

  employees and . . . attach conditions to their employment.” Friedman v. Schwellenbach,

  159 F.2d 22, 24 (D.C. Cir. 1946).

        Plaintiffs err in contending that the Government recognizes “no limiting

  principle to the reach of” the President’s power. Pls.’ Supp. Br. 17 (quoting Feds for

  Med. Freedom v. Biden, 2022 WL 188329, at *6 (S.D. Tex. Jan. 21, 2022, appeal filed,

  22-40043 (5th Cir. 2022).      Most relevant here, the CSRA authorizes removal,

  suspension, and other enumerated discipline only “for such cause as will promote the

  efficiency of the service.” 5 U.S.C. §§ 7503(a), 7513(a). Any covered plaintiff who

  might be disciplined for failing to become vaccinated pursuant to EO 14043 could seek

  review of such discipline under the extensive procedures set forth in the CSRA and

  contend that the discipline did not satisfy the statutory standard.

        Moreover, even if explicit statutory authority were necessary, see Pls.’ Supp. Br.

  17, Congress has provided it here. See Rydie, 2021 WL 5416545, at *3; Oklahoma, 2021
                                             26
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  WL 6126230, at *10; see also Smith, 2021 WL 5195688, at *6–7 (employee vaccination

  requirement is within the federal government’s “broad[]” authority when acting as “an

  employer under 5 U.S.C. §§ 3301, 3302, 7301”). Most importantly, 5 U.S.C. § 7301

  permits the President to “prescribe regulations for the conduct of employees in the

  executive branch.” Plaintiffs and the court in Feds for Medical Freedom would have this

  statute apply to “workplace conduct,” Feds for Med. Freedom, 2022 WL 188329, at *5,

  but there is no basis to read words into the statute that do not exist. Had Congress

  meant to limit its grant of authority to the “workplace”—as it did with its reference to

  “occupational safety” in the Occupational Safety and Health Act, see Nat’l Fed’n of

  Indep. Bus. v. OSHA, 142 S. Ct. 661, 665 (2022) (per curiam)—“it knew how to say so.”

  Rubin v. Islamic Republic of Iran, 138 S. Ct. 816, 826 (2018). In any case, EO 14043

  regulates workplace activity because it ensures that federal workers are vaccinated (or

  otherwise subject to a reasonable accommodation) when they enter the workplace and

  interact with their colleagues or the public.

        EO 14043 is consistent with a long line of Presidential actions imposing

  conditions on federal employment with respect to conduct that occurs both on- and

  off-duty. See, e.g., Exec. Order No. 12564, 51 Fed. Reg. 32,889, 32,890 (Sept. 15, 1986)

  (President Reagan prohibiting “[t]he use of illegal drugs by Federal employees,

  whether on duty or off duty”); Exec. Order No. 12674, 54 Fed. Reg. 15,159, 15,159

  (Apr. 12, 1989) (President George H.W. Bush requiring that federal employees refrain

  from conduct on or off the job that would conflict with their official duties; satisfy all

  “just financial obligations,” including by paying federal, state, and local taxes; and
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  refrain from soliciting or accepting gifts from persons doing business with their

  agencies, among other restrictions). As the Supreme Court has recognized, these kinds

  of employment-related executive orders are “plainly a reasonable exercise of the

  President’s responsibility for the efficient operation of the Executive Branch,” Old

  Dominion Branch No. 496, Nat’l Ass’n of Letter Carriers, AFL-CIO v. Austin, 418 U.S. 264,

  273 n.5 (1974); see also Biden v. Missouri, 142 S. Ct. 647, 652 (2022) (per curiam)

  (looking to “longstanding practice of [the Executive Branch] in implementing the

  relevant statutory authorities” in upholding a federal vaccination requirement).

  III.    The Contractor Employer Plaintiff Is Unlikely to Succeed on the Merits of
          Its Claims.

          The lone remaining Plaintiff challenging EO 14042 as alleged in the Amended

  Complaint, known as Federal Civilian Contractor Employer (“FCCE”), lacks

  standing to challenge EO 14042 because Plaintiffs’ allegations are insufficient to show

  that FCCE is a covered contractor.15 As this Court has already concluded, “the record

  remains devoid of material suggesting that any plaintiff’s employer is a federal

  contractor ‘covered’ by” the EO.16 Order 4, ECF No. 40. Despite the Court putting



  15
    EO 14042’s enforcement is enjoined nationwide. Georgia v. Biden, --- F. Supp. 3d ----, No. 1:21-CV-
  163, 2021 WL 5779939, at *12 (S.D. Ga. Dec. 7, 2021). This Court has also enjoined enforcement of
  EO 14042 within Florida. State v. Nelson, No. 8:21-CV-2524-SDM-TGW, 2021 WL 6108948, at *16
  (M.D. Fla. Dec. 22, 2021). FCCE, however, is likely not subject to this Court’s preliminary injunction
  because it is located in Michigan and does not allege to have any contracts—covered or otherwise—
  within Florida (or seemingly have any connection whatsoever to this forum). See Am. Compl. ¶ 69.
  16
     This Court stated that “the record remains devoid of material suggesting that any plaintiff’s employer
  is a federal contractor ‘covered’ by Executive Order 14043,” Order 4, but Defendants understand this
  Court to be referring to EO 14042, which pertains to federal contractors. More specifically, the Safer
  Workforce Task Force Guidance that the Office of Management and Budget (“OMB”) approved in
  implementing EO 14042 refers to covered contracts and covered contract employees and employers.

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  the FCCE on notice that it had failed to show standing, the amended complaint

  provides no further detail about FCCE’s “current and future” contracts, which may or

  may not be covered contracts within the meaning of the EO.

         Because EO 14042 only applies to certain kinds of federal contracts, FCCE must

  provide enough detail for this Court to determine that EO 14042 has caused it an actual

  or imminent injury-in-fact. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

  Notably, the EO does not apply to most contracts for procurement of goods (as

  opposed to services). See EO 14042, § 5; see also Determination of the Acting OMB

  Director Regarding the Revised Safer Federal Workforce Task Force Guidance for

  Federal Contractors and the Revised Economy & Efficiency Analysis, 86 Fed. Reg.

  63,418, 63,420 (Nov. 16, 2021) (affirming that “contract[s] or subcontract[s] for the

  manufacturing of products” are “not covered or directly addressed by” the EO). The

  “land vehicles” and “Navy vessels” that FCCE and his company “develop and

  support,” Am. Compl. ¶ 69, may well be product contracts, which would place

  FCCE’s contracts outside the scope of the EO. Moreover, the EO does not apply to

  “contracts or subcontracts whose value is equal to or less than the simplified

  acquisition threshold, as that term is defined in § 2.101 of the Federal Acquisition

  Regulation.” EO 14042 § 5(b)(iii). FCCE provides no information about the value of

  the “current and future” contracts his company holds. Because FCCE provides too

  little information to show that it is a covered contractor subject to EO 14042, it fails to

  establish an “actual,” “imminent,” or “concrete” injury, as opposed to one that is

  merely “conjectural” and “hypothetical.” Lujan, 504 U.S. at 560.

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        Even if it were a “covered” contractor subject to EO 14042, FCCE lacks

  standing to bring a religious accommodation challenge because “Federal guidance

  commits to the employing contractor the responsibility ‘for considering, and

  dispositioning, such requests for accommodations regardless of the covered contractor

  employee’s place of performance.”        Order 4 n.1, ECF No. 40.         FCCE is thus

  responsible “for considering, and dispositioning” his own request for religious

  accommodation. FCCE’s “allege[d] confusion about the requirements of the process

  for granting a religious exemption”—allegations not expanded in the Amended

  Complaint—do not “successfully accomplish the formidable, if not impossible, task of

  elevating confusion to an injury that supports a claim for relief.” Id. at 4 n.2.

        Moreover, even if FCCE had standing to challenge EO 14042 and OMB’s

  approval of the Task Force Guidance, its APA claims fail on the merits. First, the

  APA is provides no basis to challenge EO 14042 and its implementation. The APA

  does not apply to OMB’s Determination, which FCCE challenges in Count IV, and

  FCCE identifies no final agency action that would be subject to the APA. The OMB

  Director’s Determinations were issued under Presidential authority delegated to her

  under 3 U.S.C. § 301. When the President delegates his authority under § 301, the

  APA does not authorize judicial review of the action taken pursuant to that delegation.

  Officers exercising Presidential authority delegated to them through § 301 “stand[] in

  the President’s shoes” and “exercis[e] purely presidential prerogatives.” Nat. Res. Def.

  Council, Inc. v. Dep’t of State, 658 F. Supp. 2d 105, 109 & n.5, 111 (D.D.C. 2009). Just

  as the President cannot be sued under the APA, see Franklin v. Massachusetts, 505 U.S.
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  788, 796 (1992), the Director’s actions “cannot be subject to judicial review under the

  APA” either. Nat. Res. Def. Council, 658 F. Supp. 2d at 109; see also Detroit Int’l Bridge

  Co. v. Gov’t of Canada, 189 F. Supp. 3d 85, 100 (D.D.C. 2016), aff’d, 875 F.3d 1132

  (D.C. Cir. 2017), aff’d, 883 F.3d 895 (D.C. Cir. 2018). And to the extent FCCE

  generally challenges the federal contractor vaccine mandate under the APA in Counts

  V and VI, it cannot do so for failure to identify a final agency action.

        Second, even if the APA applied, EO 14042 and OMB’s Determination both

  comport with applicable law. EO 14042 is not contrary to law because it reflects the

  required nexus to the statutory objective of “an economical and efficient system” for

  contracting and procurement as set forth in the Procurement Act, 40 U.S.C. §101. The

  safeguards required by the EO “will decrease worker absence, reduce labor costs, and

  improve the efficiency of contractors and subcontractors at sites where they are per-

  forming work for the Federal Government.” EO 14042 § 1. Those efforts, in turn,

  help to avoid delays and reduced performance quality in critical federal contracts. The

  safeguards also minimize the leave and health care costs that, in some contracts, might

  be passed along to the federal government. By ensuring that the federal government

  is entering into contracts that will be performed efficiently, EO 14042 contributes

  directly to establishing “an economical and efficient system,”40 U.S.C. § 101, for

  “[p]rocuring…property and nonpersonal services” and “performing related functions

  including contracting,” id. § 101(1); see also UAW-Labor Emp’t & Training Corp. v. Chao,

  325 F.3d 360, 366 (D.C. Cir. 2003) (the Procurement Act accords the President both

  “necessary flexibility and ‘broad-ranging authority’” in setting procurement policies)
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  (quoting AFL-CIO v. Kahn, 618 F.2d 784, 789 (D.C. Cir. 1979)).

        And even if APA review applied to the OMB Determination—which it does

  not—the Determination does not violate the APA. The Determination was not issued

  in excess of OMB’s authority because, as explained above, OMB used the authority

  the President expressly delegated to OMB in EO 14042 itself. EO 14042 § 2. Nor was

  the OMB Determination arbitrary and capricious: it likewise would meet that

  “deferential” standard of review. Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551

  U.S. 644, 658 (2007). Indeed, a district court in Kentucky examined this same claim

  and concluded that the plaintiffs were unlikely to succeed in claiming that the OMB

  Determination was arbitrary and capricious. Kentucky v. Biden, 2021 WL 5587446, at

  *12 (E.D. Ky. Nov. 30, 2021) (noting that November OMB determination included a

  “thorough and robust economy-and-efficiency analysis”). FCCE’s APA challenges to

  the federal contractor vaccine requirements accordingly fail.

  IV.   Plaintiffs Have Not Demonstrated Irreparable Harm.

        “[E]ven if Plaintiffs establish a likelihood of success on the merits, the absence

  of a substantial likelihood of irreparable injury would, standing alone, make

  preliminary injunctive relief improper.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th

  Cir. 2000) (citations omitted).    Irreparable harm “must be neither remote nor

  speculative, but actual and imminent.” Ne. Fla. Chapter of Ass’n of Gen. Contractors of

  Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990). “In cases involving

  claims related to military personnel decisions, moreover, courts have held that the



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  showing of irreparable harm must be especially strong before an injunction is warranted,

  given the national security interests weighing against judicial intervention in military

  affairs.” Shaw v. Austin, 539 F. Supp. 3d 169, 183 (D.D.C. 2021).

        Plaintiffs make no such showing. No service member is subject to forcible or

  involuntary vaccination. See ECF No. 23, at 34 (collecting regulation cites). Nor do

  they allege otherwise. Separation or discharge procedures could begin, but nothing

  indicates that the process has even been initiated as to these Plaintiffs, and such

  processes can take months, see, e.g., Merz Decl. ¶¶ 17, 19, ECF No. 23-18. Even if

  Plaintiffs are ultimately separated based on their refusal of the vaccine, such a

  separation is neither imminent nor irreparable.           Military administrative and

  disciplinary actions, including separation, are not irreparable injuries because the

  service member can later be reinstated and provided back pay if he prevails on his

  claim. See, e.g., Hartikka v. United States, 754 F.2d 1516, 1518 (9th Cir. 1985); Chilcott

  v. Orr, 747 F.2d 29, 34 (1st Cir. 1984); Guitard v. Sec’y of Navy, 967 F.2d 737, 742 (2d

  Cir. 1992); Church, 2021 WL 5179215, at *17. Even a court-martial would not

  constitute irreparable injury. See Schlesinger v. Councilman, 420 U.S. 738, 755 (1975).

        The federal employee Plaintiffs also fail to establish irreparable harm. As

  Plaintiffs recognize, the loss of employment—and any associated financial or

  reputational damages stemming therefrom—is “not typically irreparable harm.” Pls.’

  Supp. Br. 21; see Sampson v. Murray, 415 U.S. 61, 91, 92 n.68 (1974). This is because

  injuries that “can be undone through monetary remedies” are not irreparable, SME



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  Racks, Inc. v. Sistemas Mecanicos Para, Electronica, S.A., 243 F. App’x 502, 504 (11th Cir.

  2007), and “the simple loss of a job is loss of income [which] does not establish

  irreparable injury,” V.N.A. of Greater Tift Cnty., Inc. v. Heckler, 711 F.2d 1020, 1030 (11th

  Cir. 1983); see also Garcia v. United States, 680 F.2d 29, 31-32 (5th Cir. 1982) (noting

  that it “[i]s is practically universal jurisprudence in labor relations in this country that

  there is an adequate remedy for individual wrongful discharge after the fact of

  discharge,” i.e., “reinstatement and backpay”). Even if any civilian employee Plaintiff

  were certain to be removed for refusal to be vaccinated—and as discussed above, there

  is no such certainty—any associated harm would not be irreparable, in part because of

  the availability of reinstatement under the CSRA and back pay under the Back Pay

  Act. See Sampson, 415 U.S. at 92 n.68. Several courts have thus held that a federal

  employee’s choice between complying with a COVID-19 vaccination requirement and

  suffering job-related consequences is not irreparable harm.          See Rydie, 2021 WL

  5416545, at *5; Church, 2021 WL 5179215, at *13–15; Smith, 2021 WL 5195688, at *8-

  9; Donovan, 2021 WL 5979250, at *7; Altschuld v. Raimondo, No. 21-cv-2779, 2021 WL

  6113563, at *3–5 (D.D.C. Nov. 8, 2021). This Court should do the same.

         In any event, the civilian employee and contractor Plaintiffs face no risk of

  irreparable harm so long as the Feds for Medical Freedom and Georgia injunctions remain

  in place. See Feds for Med. Freedom, 2021 WL 188329, at *8 (denying request to

  preliminarily enjoin EO 14042 because it “is already subject to a nationwide

  injunction”).



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  V.     The Balance of Harms Tips Sharply in the Government’s Favor.

         The public has an exceptionally strong interest in national defense, see Winter,

  555 U.S. at 24, and the military has a compelling interest in requiring its fighting forces

  to be vaccinated, healthy, and ready to deploy. As set forth above, an injunction that

  allows Plaintiffs to serve in a military setting without being vaccinated against COVID-

  19 would threaten harm to Plaintiffs and other service members serving alongside

  them. See Lescher Decl. ¶ 2. The heightened risk that an unvaccinated service member

  will contract COVID-19 necessarily heightens the risk that others in the unit will

  contract COVID-19. See id. ¶ 17. For these reasons, Plaintiffs’ motion for preliminary

  injunctive relief should be denied as to all Plaintiffs, including the two identified

  Plaintiffs subject to the Court’s TRO, and the TRO entered by the Court should be

  vitiated for the reasons set forth in Defendants’ prior opposition. See ECF No. 66.

         Military leaders, in their professional judgment, have concluded that the risks

  of these outcomes to military operations and national security are significantly higher

  when unvaccinated service members are deployed. See, e.g., Lescher Decl. ¶ 25

  (expressing “the Navy’s judgment” “that COVID-19 vaccines are a critical defense

  against COVID-19 and mitigate risk both to our force and to our mission,” “tak[ing]

  into account the environments our service members operate in, the operations the

  Navy conducts, and the absence of other effective COVID-19 mitigation measures in

  the environments in which we operate”). An order precluding the military from

  considering Plaintiffs’ vaccination status in making assignments would therefore

  threaten “[t]he health, readiness, and mission execution” of Plaintiffs’ units. Id. ¶ 2.

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         The requested injunction would also undercut the maintenance of military good

  order and discipline. Id. ¶ 16; Merz Decl. ¶ 23, ECF No. 23-18; Furness Decl. ¶ 23,

  ECF No. 23-19. No military can successfully function where service members feel free

  to define the terms of their own military service, including which orders they will

  choose to follow. Chappell v. Wallace, 462 U.S. 296, 300 (1983). The injunction

  Plaintiffs now demand here would encourage other members to attempt to bypass the

  military’s process and ask courts to enter similar injunctive relief, which “in the

  aggregate present the possibility of substantial disruption and diversion of military

  resources” and is contrary to the public interest. Parrish v. Brownlee, 335 F. Supp. 2d

  661, 669 (E.D.N.C. 2004); see Chilcott, 747 F.2d at 33 (noting the “strong judicial policy

  against interfering with the internal affairs of the armed forces”); Shaw, 539 F. Supp.

  3d at 184 (“the public interest supports . . . limited intrusion in military affairs from

  civilian courts”).

         The public interest is especially high in ensuring that no preliminary injunction

  would direct the military to maintain service members in particular assignments. In

  particular, the Court’s TRO, which keeps two Plaintiffs in command positions, is

  clearly improper under long-standing precedent and is causing immediate, irreparable

  harm to the military. See Defs.’ TRO Opp’n 17–20, ECF No. 66. The Court’s TRO

  has required the Navy to maintain in place the commander of a destroyer with a crew

  of 300 Sailors after the Navy has lost confidence in him and concluded he is unfit for

  duty for failure to follow lawful orders. Ex. 11 ¶¶ 4–9. Should the Navy need the

  destroyer to deploy in response to a geopolitical event or a national security crisis, the
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  Court’s Order means that the Navy would have to deploy a destroyer with a

  commander who the Navy has assessed is unfit for command, and who could

  compromise the health and effectiveness of the ship. Ex. 11 ¶ 13. Similarly, because

  Plaintiff Lieutenant Colonel had been selected for a battalion command, the Court’s

  Order forces the Marine Corps to place her in a leadership role, with the prospective

  authority, responsibility and accountability for mission accomplishment and the

  readiness, health and welfare of 300 Marines, even though the Marine Corps has lost

  confidence in her ability to follow orders. Ex. 10 (Decl. of Colonel Eric Thompson)

  ¶ 4. Moreover, Plaintiff Lieutenant Colonel had been selected for command of a unit

  that will be deploying overseas, but because certain countries have vaccination

  requirements, she would not be able to command her unit in those countries, which

  “will result in diminished unit effectiveness and mission accomplishment.” Id. ¶ 9.

         Wholly apart from the merits of the underlying RFRA claims, the Court’s TRO

  is in clear conflict with authority that specific military assignment decisions are the

  province of the military, not the Courts. See Defs.’ TRO Opp’n 17–20, ECF No. 66.

  A commanding officer who cannot adhere to military orders themselves has forever

  lost the ability to instill a culture of good order and discipline in their Sailors or

  Marines, which is absolutely crucial to mission success, and, thus, national security.

  Ex. 10 ¶ 4; Ex. 11 ¶¶ 4, 8, 11; Chappell, 462 U.S. at 300. For these reasons in particular,

  the Plaintiffs’ demand for a preliminary injunction with respect to these two officers

  (Plaintiff Navy Commander and Plaintiff Marine Lt. Colonel) must be denied, and the

  TRO vitiated.
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         With respect to EO 14043, a preliminary injunction would harm the public

  interest in slowing the spread of COVID-19 among millions of federal employees and

  the members of the public with whom they interact. As several other courts have

  recognized, “barring enforcement of the vaccine requirement for federal employees

  would do substantial and irreparable harm to the public health.” Rydie, 2021 WL

  5416545, at *5; see also Church, 2021 WL 5179215, at *19; Smith, 2021 WL 5195688,

  at *9; Altschuld, 2021 WL 6113563, at *5. An injunction would also harm “[t]he

  effective administration of the federal government, in which Defendants and the public

  have a deep and abiding interest.” Rydie, 2021 WL 5416545, at *5. The COVID-19

  pandemic has interfered with numerous aspects of the government’s work, and the

  essential services it provides, by, e.g., forcing office closures, limiting official travel,

  and causing staffing shortages.      See generally Pandemic Response Accountability

  Committee: COVID-19 Emergency Relief and Response Efforts, Top Challenges

  Facing Federal Agencies (June 2020), https://perma.cc/NUP9-V3XT. Enjoining EO

  14043 would thus likely interfere with the government’s ability to resume normal, pre-

  pandemic operations. See Church, 2021 WL 5179215, at *19. These significant harms

  outweigh any of the quintessentially reparable harms that might befall the civilian

  employee Plaintiffs if, in the absence of emergency relief, they faced the prospect of

  workplace discipline.

  VI.    Plaintiffs’ Anonymous Allegations Cannot Satisfy the Burden for a
         Preliminary Injunction.

         Finally, over three months into this litigation, Plaintiffs still have not complied


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  with Federal Rule of Civil Procedure 10(a) by filing a complaint that “name[s] all the

  parties.” See Doe v. Frank, 951 F.2d 320, 322–24 (11th Cir. 1992). Plaintiffs finally

  filed their long-anticipated motion to proceed under a pseudonym but have provided

  neither the Court nor Defendants with their names. Plaintiffs’ failure to do so inhibits

  Defendants from “contradict[ing] or explain[ing] assertions” in the Complaint and

  declarations or providing fulsome explanations to the Court regarding each Plaintiff’s

  individual circumstances. See KeyView Labs, Inc. v. Barger, 2020 WL 8224618, at *6

  (M.D. Fla. Dec. 22, 2020); see also Oklahoma, 2021 WL 6126230, at *2 (“Absent

  permission, the district court lacks ‘jurisdiction over the unnamed parties, as a case has

  not been commenced with respect to them.’” (citation omitted)).

         Rather than provide sufficient information for the Court to assess Plaintiffs’

  claims, they instead make arguments in the abstract based on their allegation that the

  entire military religious accommodation process is a “ruse” and thus the Court must

  grant all religious exemptions without regard to the individual request and without

  regard to the military’s judgment as to military needs. But “Federal courts do not

  exercise general legal oversight of the Legislative and Executive Branches[.]”

  TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). And Plaintiffs “must assert

  [their] own legal rights and interests, and cannot rest [their] claim to relief on the legal

  rights or interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975).

         By failing to provide their names, Plaintiffs do not allow the Court to assess

  whether they are likely to succeed on the merits of their claims or whether they will

  suffer any irreparable harm.       See KeyView Labs, 2020 WL 8224618 at *6, *13.
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  Accordingly, the Court cannot grant a preliminary injunction as to the “named”

  Plaintiffs, much less issue a preliminary injunction as to any purported class.

  TransUnion, 141 S. Ct. at 2208 (“Article III does not give federal courts the power to

  order relief to any uninjured plaintiff, class action or not.”) (quoting Tyson Foods,

  Inc. v. Bouaphakeo, 577 U.S. 442, 466 (2016) (Roberts, C. J., concurring)).

                                     CONCLUSION

        For the foregoing reasons, and for those set forth in Defendants’ Opposition to

  Plaintiffs’ Motion for a Preliminary Injunction and in Defendants’ Opposition to

  Plaintiffs’ Emergency Motion for a Temporary Restraining Order, as well as their

  supporting exhibits and declarations, Plaintiffs’ Motion for a Preliminary Injunction

  should be denied as to all Plaintiffs, including Plaintiff Navy Commander and Plaintiff

  Marine Lt. Colonel, and the TRO entered on February 2, 2022 (ECF No. 67).

  Dated: February 4, 2022                    Respectfully submitted,

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